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                               UNITED STATES DISTRICT COURT
                                 DISTRICT COURT OF MARYLAND

DEBORAH K. CHASANOW                                                6500 Cherrywood Lane
UNITED STATES DISTRICT JUDGE                                       Greenbelt, MD 20770
                                                                          (301) 344-0634



                                           March 4, 2020




TO:    Counsel

RE:    Tony Dewitt v. William Ritz, et al.
       Civil Action No. DKC 18-3202

Dear Counsel:

     This letter will confirm the matters discussed and                           the
schedule set during the telephone conference with counsel.

     Fact discovery has commenced and will continue until at least
October, 2020. Expert disclosures and discovery will be deferred
until the conclusion of fact discovery.       Counsel will submit
jointly a status report with a proposed schedule by April 3. A
further telephone conference with counsel is scheduled Monday,
April 6, 2020, at 9:00 a.m. (EDT).     Chambers will initiate the
conference call.

      Despite the informal nature of this letter it constitutes an
Order of the Court and the clerk is instructed to docket it as
such.

                                           Very truly yours,

                                                /s/

                                           DEBORAH K. CHASANOW
                                           United States District Judge
